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     Attorneys for Plaintiff and Counsel for the Class
6

7    [Additional Counsel on Signature Block]

8                                UNITED STATES DISTRICT COURT
9                             NORTHERN DISTRICT OF CALIFORNIA
10                                   SAN FRANCISCO DIVISION
11                                                  )
     IN RE TESLA, INC. SECURITIES                   )        Case No. 3:18-cv-04865-EMC
12
     LITIGATION                                     )
13                                                  )        NOTICE OF LODGING OF CERTAIN
                                                    )        DOCUMENTS AND MEDIA INTO
14                                                  )        EVIDENCE
                                                    )
15

16          TO: THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:

17          PLEASE TAKE NOTICE that Plaintiff Glen Littleton hereby lodges the following
18   documents and media, which satisfy all of the requirements set forth in the Federal Rule of
19   Evidence for admissibility as well as Judge Chen’s Guidelines for Trial in Civil Cases (Jury and
20   Bench):
21                 The excerpted transcript of Ryan Brinkman’s deposition held on May 4, 2021,
22                  pages 6, 13-16, 22-25, 41-96, 98, 100-102, 105-106, 116-118, and 122-132;
23                 The excerpted transcript of Joseph Fath’s deposition held on July 12, 2021, pages
24                  6-12, 17-23, 25-31, 35-42, 44-50, 54-59, 71, 75-78, 87-89, 91-95, 98-100, and 105-
25                  121;
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      PLAINTIFF’S NOTICE OF LODGING                      1                 CASE NO. 3:18-CV-04865-EMC
1                 Deposition of Elon Musk: three (3) media clips of Elon Musk’s deposition held on

2                  November 5, 2021 (page 183, line 15 – page 184, line 1; page 189, lines 5-7; and

3                  page 246, line 20 – page 247, line 4);

4                 Demonstratives of Professor Guhan Subramanian, slides 1-22;

5                 Demonstratives of Professor Steven L. Heston, slides 2-7 and 10;

6                 Demonstratives of Dr. Michael L. Hartzmark, slides 2, 4-7, 11-12, 16, 19, 22, 24,

7                  26, 30, 32, 40, 42, 45-49, 51-52, 55, 59, 61-63, 65-66, 69, and 74.

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9    Dated: February 2, 2023                     Respectfully submitted,

10
                                                 LEVI & KORSINSKY, LLP
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12
                                                 s/ Adam M. Apton
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17
                                                 -and-
18
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                                                 (admitted pro hac vice)
25
                                                 -and-
26

27                                               Joseph Levi

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      PLAINTIFF’S NOTICE OF LODGING                   2                    CASE NO. 3:18-CV-04865-EMC
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     PLAINTIFF’S NOTICE OF LODGING        3                   CASE NO. 3:18-CV-04865-EMC
                                        FILER’S ATTESTATION
1
            Pursuant to Civil L. R. 5-1(h)(3), regarding signatures, I hereby attest that concurrence
2
     in the filing of the document has been obtained from all of the signatories above.
3

4
                                                  /s/ Adam M. Apton
5                                                 Adam M. Apton
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      PLAINTIFF’S NOTICE OF LODGING                    4                    CASE NO. 3:18-CV-04865-EMC
